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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                    MOTION FOR ADMISSION PRO HAC VICE

 Effective October 5, 2015 – In addition to filing this motion in ECF, the proposed admittee
 must also apply for “Pro Hac Vice” admission through his or her PACER account if he or
       she has not been previously admitted pro hac vice to the District of Minnesota.

 Case Number: 0:18-mc-00076-WMW-KMM

 Case Title: In Re Banc of California Securities Litigation

 Affidavit of Movant

 I, Samuel J. Tunheim, an active member in good standing of the bar of the U.S. District Court for
 the District of Minnesota, request that this Court admit pro hac vice Andrew R. Gray, an attorney
 admitted to practice and currently in good standing in the U.S. District Court for the Central
 District of California, but not admitted to the bar of this court, who will be counsel for Movant
 Steven A. Sugarman in the case listed above. I am aware that the local rules of this court require
 that an active Minnesota resident, unless the court grants a motion for a non-Minnesota resident
 to serve as local counsel, who is a member in good standing of the bar of this court participate in
 the preparation and presentation of the case listed above, and accept service of all papers served.

 Check one of the following:

     I am a resident of the State of Minnesota, and agree to participate in the preparation and the
 presentation of the case above and accept service of all papers served as required by LR 83.5(d)
 (sign and complete information below).

     I am not a resident of the State of Minnesota and hereby move for permission to act as local
 counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
 case listed above, and accept service of all papers served as required by LR 83.5(d) should my
 motion for a non-resident to serve as local counsel be granted by the court (sign and complete
 information below and attach a completed Motion for Permission for a Non-Resident to Serve as
 Local Counsel).

        Signature: s/Samuel J. Tunheim               Date: September 19, 2018

        MN Attorney License #: 0397717




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 Affidavit of Proposed Admittee

 I, Andrew R. Gray, am currently a member in good standing of the U.S. District Court for the
 Central District of California, but am not admitted to the bar of this court. I understand that if
 this Court grants me admission pro hac vice, the moving attorney identified in this motion must
 participate in the preparation and presentation of the case listed above, and must accept service
 of all papers served as required by LR 83.5(d). I further understand that the District of
 Minnesota is an electronic court and that I consent to service required by Fed. R. Civ. P. 5(b) and
 77(d) by electronic means and I understand that electronic notice will be in lieu of service by
 mail.

 Signature: s/Andrew R. Gray                                 Date: September 19, 2018

 Typed Name: Andrew R. Gray

 Attorney License Number: 254594 issued by the State of California

 Law Firm Name:      Latham & Watkins LLC

 Law Firm Address: 650 Town Center Drive, 20th Floor

                     Costa Mesa, CA 92626-1925

 Main phone:         (714) 540-1235

 Direct line:        (714) 755-8017

 E-mail address:     andrew.gray@lw.com


 This motion must be converted to a PDF and then electronically filed in the case. The Pro Hac
 Vice motion fee of $100 must be paid when filing this motion in CM/ECF through Pay.gov.
 You will not be able to complete the filing of this motion without paying the motion fee
 through Pay.gov. Pay.gov is an electronic system of the U.S. Department of the Treasury that
 allows users to make secure electronic payments to federal government agencies. Payments can
 be made directly from a checking or savings account or by using a credit or debit card.

 PLEASE NOTE IN ADDITION to filing this motion in the case and paying the fee, the
 proposed admittee MUST also apply for “Pro Hac Vice” Admission to the District of
 Minnesota through his or her individual upgraded PACER ACCOUNT. This last step only
 needs to be completed the first time a proposed admittee is admitted Pro Hac Vice to the District
 of Minnesota. For detailed step by step instructions, click here.

         For questions, please email the ecf helpdesk at ecfhelpdesk@mnd.uscourts.gov or
                     contact an Attorney Admissions Clerk at 651-848-1100.



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